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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

PAUL N. ROYAL as Administrator ad Litem for the
Estate of RICKY JAVENTIA BALL, Deceased,

          Plaintiff,

vs.                                              Docket No.: 1:16CV176 – GHD-RP

CANYON BOYKIN, Individually and
in his Official Capacity as an Officer of the
Columbus Police Department;
JOHNNY BRANCH, Individually and
in his Official Capacity as an Officer of the
Columbus Police Department;
YOLANDA YOUNG, Individually and
in her Official Capacity as an Officer of the
Columbus Police Department;
GARRETT MITTAN, Individually and in
His Official Capacity as an Officer of the
Columbus Police Department;
JOHN DOES I-X, Individually and
in their Official Capacity as Officers of the
Columbus Police Department;
TONY CARLETON, Individually and
in his Official Capacity as Chief of Police of
the Columbus Police Department;
CITY OF COLUMBUS, MISSISSIPPI,

          Defendants.

       JOINT STIPLULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANTS
      BRANCH, YOUNG & MITTAN IN THEIR INDIVIDUAL AND OFFICIAL CAPACITY
                                               .
         COMES NOW, the Parties in this case, Plaintiff, Defendants Branch, Young & Mittan, in

their individual capacities and official capacities, Defendant Boykin, in his individual capacity

and official capacity, Defendant Carleton, in his individual capacity and official capacity,

Defendant City of Columbus, by and through counsel and pursuant to Federal Rule of Civil

Procedure 41(a), and hereby inform the Court that the Plaintiff wishes to dismiss all claims




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against Defendants Branch, Young & Mittan, in their individual and official capacity, with

prejudice, with Plaintiff and Defendants Branch, Mittan & Young to each bear their own costs

and attorney fees. As a further condition of this Joint Stipulation, Plaintiff and Defendants

Branch & Mittan have agreed to appear for deposition and/or trial without the necessity of a

subpoena at a mutually agreeable time and/or upon service of a subpoena on their counsel for

record in this case. As a further condition of this Joint Stipulation, Counsel for Defendant Young

has agreed to use their best efforts to speak with Defendant Young and have her agree to appear

at deposition and/or trial without the necessity of the subpoena at a mutually agreeable time

and/or agree to be authorized to accept a subpoena on her behalf. In the event, that Counsel for

Defendant Young cannot communicate with Defendant Young, Counsel for Defendant Young

agrees to provide Plaintiff’s Counsel with Defendant Young’s last known address and telephone

number to allow Plaintiff to locate Defendant Young.

        Plaintiff’s claims against Defendant Boykin, in his individual and official capacity,

Defendant Carleton, in his individual and official capacity and City of Columbus remain for

adjudication and will not be affected by this stipulation of dismissal.

        WHEREFORE, PREMISES CONSIDERED, the Parties hereby agree that the Plaintiff’s

claims against Defendants Branch, Mittan & Young, in their individual capacity and official

capacity, shall be dismissed with prejudice, with Plaintiffs and Defendants Branch, Mittan &

Young to bear their own costs and attorney fees, with the further stipulations set forth above

regarding the depositions and/or trial testimony of Defendants’ Branch, Mittan & Young in this

case.

                                      Respectfully submitted,

                                      By: /s/ Andrew C. Clarke
                                      ANDREW C. CLARKE (9491)



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                                    Counsel for Officer Boykin

                                CERTIFICATE OF SERVICE

        I, James C. “Cory” Griffin, do hereby certify that I have this date served the following
with a copy of the following has been served on all counsel of record pursuant to the Court ECF
filing system, including:

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       THIS, the 16th day of October, 2017.


                                              ___/s/ James C. “Cory” Griffin______________
                                              James C. “Cory” Griffin




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